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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA —
2.21-CR-O->

 

v. Criminal No.
DONALD VARGO 18 U.S.C. § 1708
INFORMATION
COUNTONE MAR 01 2021
The United States Attorney charges: CLERK U.S. DISTRICT COURT

WEST. DIST. OF PENNSYLVANIA
On or about December 23, 2016, in the Western District of Pennsylvania, the

defendant, DONALD VARGO, did attempt to abstract and to remove certain articles and things

contained therein, namely letters and other mail, from and out of a United States mail authorized
mail receptacle located at 251 Ridge Road, Zelienople, Pennsylvania 16063.

In violation of Title 18, United States Code, Section 1708.
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COUNT TWO

The United States Attorney further charges:

On or about December 27, 2016, in the Western District of Pennsylvania, the
defendant, DONALD VARGO, did attempt to abstract and remove certain articles and things
contained therein, namely letters and other mail, from and out of a United States mail authorized
mail receptacle located at 100 Coverdale Road, Butler, PA 16001.

In violation of Title 18, United States Code, Section 1708.

AGA

STEPHEN R. KAUFMAN
Acting United States Attorney
PA ID No. 42108
